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 1 HAYES H. GABLE III
   Attorney at Law
 2 State Bar No. 60368
   428 J Street, Suite 350
 3 Sacramento, CA 95814
   (916) 446-3331
 4
   Attorney for Defendant
 5 LESTER HANDS

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                      )           CR.S-06-192 EJG
                                                  )
12   Plaintiff,                                   )
                                                  )           STIPULATION AND
13                                                )           ORDER RE: CONTINUANCE OF
                                                  )           STATUS CONFERENCE AND
14 v.                                             )           EXCLUSION OF TIME UNDER
                                                  )           SPEEDY TRIAL ACT
15                                                )
     LESTER HANDS,                                )
16                                                )
     Defendant.                                   )           Judge: Hon. Edward J. Garcia
17                                                )

18                                                    -o0o-

19         Plaintiff, United States of America, by and through its counsel, Assistant United States

20 Attorney Richard J. Bender, and defendant Lester Hands, by and through his counsel, Hayes H.

21 Gable, III, agree and stipulate to vacate the existing status conference in the above-captioned

22 action, June 15, 2007, and to continue the matter to July 13, 2007, at 10:00 a.m. for status

23 conference.

24         The reason for this request is that the defense has just received the Criminal History

25 Computation prepared by the United States Probation Officer, and requires time to review it and

26 discuss it with the defendant, and in light thereof, attempt to negotiate a disposition of the case

27 with the Government. The parties further agree and stipulate that the period for the filing of this

28 stipulation until July 13, 2007, should be excluded in computing time for commencement of trial


                                                                1.
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 1 under the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(8)(B)(iv)

 2 and Local Code T4, to allow continuity of counsel and to allow reasonable time necessary for

 3 effective presentation. It is further agreed and stipulated that the need of defense counsel to

 4 prepare exceeds the public’s interest in commencing trial within 70 days.

 5          Counsel for the government has authorized the execution of this stipulation on her behalf.

 6    Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

 7

 8 Dated: June 13, 2007                            /s/Hayes H. Gable, III
                                                   HAYES H. GABLE III
 9                                                 Attorney for Defendant
                                                   LESTER HANDS
10

11
     Dated: June 13, 2007                          MCGREGOR W. SCOTT
12                                                 United States Attorney

13                                         By:     /s/Hayes H. Gable, III for
                                                   RICHARD J. BENDER
14                                                 Assistant United States Attorney

15
                                ORDER FINDING EXCLUDABLE TIME
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            For the reasons set forth in the accompanying stipulation, the status conference in the
17
     above-entitled action is continued to July 13, 2007, at 10:00 a.m. The court finds excludable time
18
     in this matter from June 15, 2007 through July 13, 2007, under 18 U.S.C. § 3161(h)(8)(B)(iv) and
19
     Local Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective
20
     presentation. For the reasons stipulated by the parties, the Court finds that the interest of justice
21
     served by granting the requested continuance outweigh the best interests of the public and the
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     defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
23
     IT IS SO ORDERED.
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25

26
     Dated: June 13, 2007                          /s/ Edward J. Garcia
27                                                 EDWARD J. GARCIA
                                                   Senior U.S. District Court Judge
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